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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 AIMEE CONDAYAN, an individual,

                        Plaintiff,

                -against-                                              ORDER

 JENNIFER MATHIEU, an individual;                                20 Civ. 5596 (PGG)
 ROARING BROOK PRESS, a New
 York corporation; HOLTZBRINCK
 PUBLISHING HOLDINGS LIMITED
 PARTNERSHIP, a German company;
 MACMILLAN PUBLISHERS, a New
 York company; SARAH LAPOLLA, an
 individual; BRADFORD LITERARY
 AGENCY, INC. and DOES 1 to 50,
 inclusive,

                Defendants.
PAUL G. GARDEPHE, U.S.D.J.:

               The conference currently scheduled for November 19, 2020 will take place by

telephone.

               The parties are directed to dial 888-363-4749 to participate, and to enter the

access code 6212642. The press and public may obtain access to the telephone conference by

dialing the same number and using the same access code. The Court is holding multiple

telephone conferences on this date. The parties should call in at the scheduled time and wait on

the line for their case to be called. At that time, the Court will un-mute the parties’ lines. Seven

days before the conference, the parties must email Michael_Ruocco@nysd.uscourts.gov and

GardepheNYSDChambers@nysd.uscourts.gov with the phone numbers that the parties will be

using to dial into the conference so that the Court knows which numbers to un-mute. The email

should include the case name and case number in the subject line.

Dated: New York, New York
       November 2, 2020
